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                                   9                                   UNITED STATES DISTRICT COURT

                                  10                                  NORTHERN DISTRICT OF CALIFORNIA

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                                  12     DONALD J. TRUMP, et al.,                           Case No. 21-cv-08009-JSW
Northern District of California
 United States District Court




                                                        Plaintiffs,
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                                                                                            ORDER DENYING MOTION TO
                                                 v.                                         CONSOLIDATE
                                  14
                                         YOUTUBE LLC, et al.,                               Re: Dkt. No. 125
                                  15
                                                        Defendants.
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                                  18          Now before the Court is Plaintiffs’ motion for consolidation pursuant to Rule 42 of the

                                  19   Federal Rule of Civil Procedure of the following cases: (1) Trump, et al. v. YouTube, LLC, et al.,

                                  20   Civ. No. 21-cv-08009-JSW (“YouTube”); (2) Trump, et al. v. Twitter Inc., et al., Civ. No. 21-

                                  21   08378-JD (“Twitter”); and (3) Trump, et al. v. Meta Platforms, Inc., et al., Civ. No. 21-09044-

                                  22   JSW (“Facebook”). All three cases were separately transferred from the Southern District of

                                  23   Florida and randomly assigned to district court judges.

                                  24          This Court has already determined that the three separate cases are not related. In alternate

                                  25   proceedings, the parties have each indicated that they think the cases are not related. The Court’s

                                  26   relatedness ruling, however, does not preclude a finding under Federal Rule of Civil Procedure 42.

                                  27   Pursuant to Rule 42(a), “[i]f actions before the court involve a common question of law or fact, the

                                  28   court may . . . consolidate the actions.” In exercising its discretion, the court must balance “the
                                         Case 4:21-cv-08009-JSW Document 139 Filed 01/12/22 Page 2 of 3




                                   1   interest of judicial convenience against the potential for delay, confusion and prejudice caused by

                                   2   consolidation. Paxonet Communications Inc. v. TranSwitch Corp., 303 F. Supp. 2d 1027, 1029

                                   3   (N.D. Cal. 2003) (citation omitted). “The party seeking consolidation bears the burden of

                                   4   demonstrating that convenience and judicial economy would result from consolidation.” Miller v.

                                   5   Ventro Corp., 2001 WL 34497752, at *3 (N.D. Cal. Nov. 28, 2001).

                                   6          The Court finds that Plaintiffs’ request for consolidation of these cases is premature. It

                                   7   would be more efficient and conserve judicial resources to resolve the pending motions to dismiss

                                   8   (and preliminary injunction motions) to see what remains of the cases. See, e.g., Wright & Miller,

                                   9   Consolidation – Discretion of Court, 9A Fed. Prac. & Proc. Civ. 2383 (3d ed.) (“[C]ourts have

                                  10   concluded that consolidation is premature when motions to dismiss are pending.”) (collecting

                                  11   cases); see also Osman v. Weyker, 2016 WEL 10402791, at *3 (D. Minn. Nov. 21, 2016) (holding

                                  12   that consolidation is premature in light of the fact that defendants planned to move to dismiss); see
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 United States District Court




                                  13   Thompson v. City of St. Peters, 2016 WL 1625373, at *2 (E.D. Mo. Apr. 21, 2016) (stating that

                                  14   judicial efficiency is best served by deciding pending motions for judgment on the pleadings and

                                  15   summary judgment before any consolidation) (citing Sprint Communications, L.P. v. Cox

                                  16   Communications, Inc., 2012 WL 1825222, at *1 (D. Kansas May 18, 2012) (finding motion to

                                  17   consolidate premature in light of pending motions to dismiss); Evans v. International Paper Co.,

                                  18   2011 WL 2559791, at *6 (W.D. La. June 28, 2011) (same); Vickers v. Green Tree Serv., LLC,

                                  19   2015 WL 7776880, at *2 (D. Kansas Dec. 2, 2015) (noting that consolidation would be premature

                                  20   and judicial efficiency would not be served by case consolidation when motions to dismiss were

                                  21   pending).

                                  22          At this point in the proceedings, the Court finds it would be premature to consolidate these

                                  23   unrelated matters. See Anselmo v. County of Shasta, Cal., 2012 WL 13046421, at *1 (E.D. Cal.

                                  24   Aug. 6, 2012) (denying motion to consolidate as premature and holding that “[a]t this point in the

                                  25   proceedings, it is too early for the court to determine whether consolidation would serve the

                                  26   interests of convenience and judicial economy. It would therefore be premature for the court to

                                  27   consolidate the actions. If at a later date when issues are more developed any party believes it

                                  28   would be efficient to consolidate the proceedings, they may bring another motion to consolidate.”)
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                                   1          Accordingly, the Court DENIES Plaintiffs’ motion for consolidation without prejudice to

                                   2   renewal.

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                                   4          IT IS SO ORDERED.

                                   5   Dated: January 11, 2022

                                   6                                                 ______________________________________
                                                                                     JEFFREY S. WHITE
                                   7                                                 United States District Judge
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Northern District of California
 United States District Court




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